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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 STATE OF NEW MEXICO, et al.,

                   Plaintiffs,
                                                             C.A. No. 1:25-cv-00429
         v.
                                                             [PROPOSED] ORDER GRANTING IN
 ELON MUSK, et al.,                                          PART MOTION FOR TEMPORARY
                                                             RESTRAINING ORDER, ECF No. 6
                   Defendants.



                    [PROPOSED] ORDER GRANTING IN PART
       PLAINTIFF STATES’ MOTION FOR TEMPORARY RESTRAINING ORDER

       Before the Court is the Motion for Temporary Restraining Order, ECF No. 6, and the

accompanying declarations filed by the Plaintiffs State of New Mexico, State of Arizona, People of

the State of Michigan, State of California, State of Connecticut, State of Hawai’i, State of Maryland,

Commonwealth of Massachusetts, State of Minnesota, State of Nevada, State of Oregon, State of

Vermont, and State of Washington (collectively, “Plaintiff States”). After reviewing the papers and

records on file in this action, and having the benefit of the arguments of counsel, and good cause

appearing, the Court ORDERS as follows:

       Defendants Elon Musk, U.S. DOGE Service, U.S. DOGE Service Temporary Organization,

and their agents, officers, and employees, or anyone acting in active concert with them, are

temporarily restrained from:

       (a) Accessing or continuing to access any data systems and the information and code

              contained within those systems, including but not limited to systems containing sensitive
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           or confidential agency and personnel data, 1 at the Office of Personnel Management,2 the

           Department of Education,3 the Department of Labor,4 the Department of Health and

           Human Services,5 the Department of Energy,6 the Department of Transportation,7 and the

           Department of Commerce,8 or any components of any of those agencies, or copying,

           transferring, or in any way disseminating any data from any of the agencies identified in

           this paragraph; and

       (b) Terminating, furloughing, or otherwise placing on involuntary leave—whether paid or

           unpaid—any officers or employees of the federal government working within any of the

           Departments and agencies identified in paragraph (a), other than officers or employees of

           the Defendant entities, or directing any federal department or agency, not including the

           Defendant entities, to take the prohibited actions described in this paragraph.9

       Defendants are further ORDERED to file a status report within 24 hours of the issuance of

this Order confirming compliance with the Order.

       The Court further ORDERS that this order shall remain in effect for 14 days from the date of

its issuance, unless extended for good cause.




1
  See Compl., ECF No. 2, at ¶¶ 94–95, 194; ECF No. 6-11 at ¶ 19; ECF No. 6-9 at ¶ 4; ECF No.
6-10 at ¶ 7; Plaintiff States’ Feb. 15, 2025 Notice of Supplemental Information (“Suppl. Not.”).
2
  See id. at ¶¶ 107–121; Suppl. Not.
3
  See id. at ¶¶ 164–168; see also, e.g., ECF No. 6-2 at ¶ 14; ECF No. 6-3 at ¶ 8–9; ECF No. 6-7
at ¶ 6; Suppl. Not.
4
  See id. at ¶¶ 176–180; Suppl. Not.
5
  See id. at ¶¶ 122–133; see also, e.g., ECF No. 6-2 at ¶ 11; ECF No. 6-7 at ¶ 5; Suppl. Not.
6
  See id. at ¶¶ 134–141; see also, e.g., ECF No. 6-2 at ¶ 12; Suppl. Not.
7
  See id. at ¶¶ 181–187; see also, e.g., ECF No. 6-2 at ¶ 15; Suppl. Not.
8
  See id. at ¶ 189; Suppl. Not.
9
  See Compl. ¶¶ 66; 96; 189; ECF No. 6-11 at ¶ 11; ECF No. 6-7 at ¶ 16; ECF No. 6-3 at ¶ 10;
ECF No. 6-4 at ¶¶ 18–19, 21; ECF No. 6-5 at ¶ 10, ECF No. 6-7 at ¶ 15; Suppl. Not.
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         The Court further ORDERS that the Parties are directed to meet and confer within 48 hours

of the date of this order on a mutually agreeable schedule for briefing on Plaintiff States’

forthcoming motion for a preliminary injunction.



         IT IS SO ORDERED.




 Dated                                                      HON. TANYA S. CHUTKAN
                                                            United States District Judge
